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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION


UNITED STATES OF AMERICA,



v.                                            CRIMINAL ACTION NO. 2:21-cr-00062-01

LARRY ALLEN CLAY, JR.




                                             ORDER

        Pending before the court is the motion for extension of time to file draft PSR [ECF No.

330]. For good cause shown, the motion for extension of time is GRANTED.

        The court ORDERS that the Probation Office prepare and forward a draft presentence

report to the United States and counsel for the defendant no later than June 29, 2023; that the

United States Attorney and counsel for the defendant file objections to the draft presentence report

no later than July 13, 2023; that the Probation Office submit a final presentence report to the court

no later than July 27, 2023; and that the United States and counsel for the defendant file a

sentencing memorandum no later than August 3, 2023.               The court SCHEDULES final

disposition of this matter for August 10, 2023, at 10:00 a.m.

        The court DIRECTS the Clerk to send a copy of this Order to the defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                              ENTER: June 6, 2023
